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 4

 5   Attorney for Defendant, Marilyn Bracy

 6

 7                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF CALIFORNIA
 8
                                                     ***
 9

10   UNITED STATES OF AMERICA,        )               Case No. 1:06-CR-00184 AWI
                                      )
11                     Plaintiff,     )               STIPULATION AND ORDER
                                      )               TO CONTINUE STATUS
12               v.                   )               CONFERENCE
                                      )
13   MARILYN BRACY,                   )               Date            : February 5, 2007
     VETERINARY                       )               Time            : 9:00 a.m.
14   PHARMACEUTICALS, INC.            )
     JAMES MANN and                   )
15   HAROLD DESJARDINS.,              )
                                      )
16                     Defendant.     )
     ________________________________ )
17

18           IT IS HEREBY STIPULATED by and between the parties hereto through their respective

19   counsel, that the date for the Status Conference in the above-captioned matter be continued to

20   February 5, 2007, from January 8, 2007. The time and location of said Status Conference shall remain

21   the same.

22           The parties also agree that the delay resulting from the continuance shall be excluded in the

23   interests of justice, pursuant to 18 U.S.C. §3161(h)(8)(A).

24
     Dated: January 4, 2007                        /s/ Dale A. Blickenstaff
25                                                 DALE A. BLICKENSTAFF
                                                   Attorney for Defendant, MARILYN BRACY
26   //

27   //

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     STIPULATION AND ORDER TO STATUS CONFERENCE, Case No. 1:06-CR-00184 AWI
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 1   Dated: January 4, 2007                    /s/ Mark W. Coleman
                                               MARK COLEMAN
 2                                             Attorney for Defendant, JAMES MANN

 3

 4   Dated: January 4, 2007                    /s/ Michael A. Diaz
                                               MICHAEL A. DIAZ
 5                                             Attorney for Defendant, VETERINARY
                                               PHARMACEUTICALS
 6

 7   Dated: January 4, 2007                    /s/ Roger T. Nuttal
                                               Roger T. Nuttal
 8                                             Attorney for Defendant, HAROLD DESJARDINS

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10   Dated: January 4, 2007                    /s/ Mark E. Cullers
                                               MARK E. CULLERS
11                                             Assistant U. S. Attorney

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 1                                             ORDER

 2          IT IS SO ORDERED. Time is excluded in the interests of justice pursuant to 18 U.S.C.

 3   §3161(h)(8)(A).

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 5   IT IS SO ORDERED.

 6   Dated:    January 5, 2007                      /s/ Anthony W. Ishii
     0m8i78                                   UNITED STATES DISTRICT JUDGE
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     STIPULATION AND ORDER TO STATUS CONFERENCE, Case No. 1:06-CR-00184 AWI
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